                        IN THE UNITED STATES DISTRICT COURT
                                 DISTRICT OF KANSAS

GUSTIN C. BROWNLEE,                                   )
                                                      )
                                 Plaintiff,           )
                                                      )
v.                                                    )   Case No. 20-cv-03122-JAR-GEB
                                                      )
BRETT CORBY, et al.,                                  )
                                                      )
                                 Defendants.          )

          DEFENDANTS CORBY AND MCCOLLOUGH RESPONSE TO PLAINTIFF’S
              SECOND MOTION FOR EXTENSION OF TIME [DOC. 45]

       COME NOW Defendants Brett Corby and Alex McCollough, and provides the following

Response to Plaintiff’s Second Motion Requesting Extension of Time to Respond to Defendants’

Motion to Dismiss [Doc. 45]:

       Defendants Corby and McCollough do not object to a reasonable extension of time for

Plaintiff to Respond to Defendants’ pending Motion to Dismiss [Doc. 38]. It appears from the

Motion title that Plaintiff is seeking an additional 30 days, or until March 31, 2023. Defendants

do not object to this request.

       WHEREFORE, Defendants Brett Corby and Alex McCollough do not object to an Order

from this Court granting Plaintiff a 30-day extension of time, or until March 31, 2023, to respond to

Defendants’ Motion to Dismiss [Doc. 38].

                                                      Respectfully submitted,

                                                       /s/ Tracy M. Hayes
                                                      Tracy M. Hayes        KS #23119
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                                                    t.hayes@swrllp.com
                                                    ATTORNEYS FOR BRETT CORBY
                                                    AND ALEX McCOLLOUGH




                                CERTIFICATE OF SERVICE

       I hereby certify that on the 27th day of February, 2023, the foregoing was filed with the
Clerk of the Court using the CM/ECF system, which will send notice of electronic filing to all
counsel of record. I hereby further certify a copy of the foregoing was sent via U.S. Mail postage
prepaid to the following:

       Gustin C. Brownlee #73693
       EL Dorado Correctional Facility – Central
       PO Box 311
       El Dorado, KS 67042



                                                    /s/ Tracy M. Hayes
                                                    Attorney




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